                              No. 22-13626-U


                IN THE UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT


                              ANNA LANGE,

                                         Plaintiff-Appellee

                                    v.

                     HOUSTON COUNTY, GEORGIA, et al.,

                                         Defendants-Appellants


          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF GEORGIA


EN BANC BRIEF FOR THE UNITED STATES AS AMICUS CURIAE SUPPORTING
     PLAINTIFF-APPELLEE AND URGING AFFIRMANCE ON THE ISSUE
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        Anna Lange v. Houston County, Georgia, No. 22-13626-U

           CERTIFICATE OF INTERESTED PERSONS
          AND CORPORATE DISCLOSURE STATEMENT

     In accordance with Eleventh Circuit Rules 26.1-1, 26.1-2, and

26.1-3, the United States as amicus curiae certifies that, in addition to

those identified in the briefs filed by defendants-appellants, plaintiff-

appellee, and their respective amici, the following persons may have an

interest in the outcome of this case:

     1. Baldwin, Anna M., U.S. Department of Justice, Civil Rights

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     The United States certifies that no publicly traded company or

corporation has an interest in the outcome of this appeal.

                                         s/ Jason Lee
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Date: October 30, 2024




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               INTEREST OF THE UNITED STATES

     The United States has a substantial interest in this appeal, which

concerns the proper application of the prohibition against sex

discrimination in Title VII of the Civil Rights Act of 1964, 42 U.S.C.

2000e-2(a), to a health insurance plan that excludes coverage of certain

medically necessary gender-affirming care for transgender employees.

The Attorney General and the Equal Employment Opportunity

Commission (EEOC) share enforcement authority under Title VII. See

42 U.S.C. 2000e-5(a) and (f)(1).

     The United States files this brief under 11th Circuit Rule 35-8.

                    STATEMENT OF THE ISSUE

     Plaintiff-appellee Anna Lange, a transgender woman and former

deputy in the Houston County Sheriff’s Office, was denied insurance

coverage for a medically necessary procedure to treat her gender

dysphoria, based on an exclusion in her health insurance plan for

“[s]ervices and supplies for a sex change.” Doc. 155-1, at 71.1 The plan




     1 “Doc. __, at __” refers to the docket entry and page number of
documents filed on the district court’s docket at No. 5:19-cv-392 (M.D.
Ga.). “Br. __” refers to appellants’ en banc brief and page number.
would have covered the procedure if it had been provided for some other

medically necessary purpose.

     The United States addresses the following question posed by the

Court in its briefing notice:

     Whether the employer-provided health insurance policy at
     issue, which covers medically necessary treatments for
     certain diagnoses but bars coverage for Lange’s “sex change”
     surgery, facially violates Title VII of the Civil Rights Act of
     1964.

En Banc Briefing Notice 1 (Aug. 29, 2024).

                     STATEMENT OF THE CASE

     A.    Statutory Background

     Title VII makes it unlawful for a covered employer “to

discriminate against any individual with respect to his compensation,

terms, conditions, or privileges of employment, because of such

individual’s . . . sex.” 42 U.S.C. 2000e-2(a)(1). The Supreme Court has

held that discrimination based on transgender status violates Title VII’s

prohibition against sex discrimination. See Bostock v. Clayton Cnty.,

590 U.S. 644, 660-661 (2020); see also id. at 660 (“[I]t is impossible to

discriminate against a person for being . . . transgender without

discriminating against that individual based on sex.”). The Supreme

Court has also made clear that Title VII applies to employer-sponsored
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health insurance plans because such benefits are a part of an

employee’s “compensation, terms, conditions, or privileges of

employment.” Newport News Shipbuilding & Dry Dock Co. v. EEOC,

462 U.S. 669, 682 (1983) (“Newport News”).

     B.    Factual Background

     a. The Houston County Sheriff’s Office offers its employees

healthcare benefits by permitting them to enroll in Houston County’s

health insurance plan. Doc. 205, at 3. The plan is “self-funded” (Doc.

205, at 3), meaning that the County’s third-party administrator of the

plan, Anthem Blue Cross Blue Shield, pays employees’ and dependents’

medical claims using funds provided by the County and obtained

through employee contributions (Doc. 150-1, at 8-9, 16). The plan

contains a number of exclusions, including, as relevant here, two that

deny coverage for “[s]ervices and supplies for a sex change and/or the

reversal of a sex change” and “[d]rugs for sex change surgery.” Doc.

155-1, at 71, 73.

     In 2010, Congress enacted the Patient Protection and Affordable

Care Act (ACA), Pub. L. No. 111-148, 124 Stat. 119, which, among other

things, bars sex discrimination in health programs and activities


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receiving federal financial assistance. See 42 U.S.C. 18116(a).

Following enactment of the ACA, Anthem recommended that the

County eliminate the two exclusions mentioned above. See Doc. 205, at

3-4. The County rejected Anthem’s recommendation and chose to retain

the exclusions. Doc. 205, at 4.

     b. Lange began working for the Houston County Sheriff’s Office in

2006 and was promoted to Sergeant in 2014. Doc. 147, at 2. At that

time, Lange presented as male. Doc. 147, at 3. A few years later,

Lange was diagnosed with gender dysphoria and, in 2017, she began

identifying and presenting as female and changed her legal name to

align with her gender identity. Doc. 147, at 3-4.

     As part of her transition, Lange took steps to make her

“appearance more female over time.” Doc. 147, at 3-4. This included

hormone replacement therapy under the care of an endocrinologist.

Doc. 147, at 3. Lange’s treatment also included undergoing surgery “to

feminize her chest.” Doc. 205, at 2. Lange personally paid for the costs

of that surgery because she “knew that the County’s Health Plan would

not cover it.” Doc. 147, at 5.




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     To treat her gender dysphoria—and consistent with the

recommendation of her endocrinologist, two psychologists, and a

surgeon—Lange also sought a vaginoplasty. Doc. 147, at 5-6. The

procedure qualified as “medically necessary” under Anthem’s

guidelines, and thus, Anthem initially told Lange that it would be

covered. Doc. 205, at 6 (citation omitted). But the County official

responsible for administration of the plan later consulted with the

County’s insurance broker and “worked with Anthem to ensure” that

the plan’s exclusion of coverage for gender-affirming care would apply

instead. Doc. 205, at 4, 6. Consequently, Lange’s preauthorization

request was denied based on the “benefit exclusion” for “[s]ex

[r]eassignment [s]urgery.” Doc. 150-5, at 85.

     C.    Procedural History

     Lange sued Houston County, alleging, as relevant here, that the

exclusions from coverage in the County’s health insurance plan for

gender-affirming surgery and related medications violate Title VII “by

intentionally providing lesser terms of compensation to employees . . .

who are seeking a gender transition.” Doc. 56, at 28.




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     The district court agreed, entering summary judgment in Lange’s

favor and holding that the challenged exclusions “facially

discriminat[e]” based on sex. Doc. 205, at 22. The court pointed out

that, for example, “the plan pays for mastectomies when medically

necessary for cancer treatment,” but it denies coverage “when

mastectomies are medically necessary for [gender-affirming] surgery.”

Doc. 205, at 23. The court further noted that, based on defendants’ own

admissions, it was undisputed that “the Exclusion[s] appl[y] only to

transgender [health plan] members,” and that they “appl[y] to Lange

because she is transgender.” Doc. 205, at 23. Accordingly, the court

found the challenged exclusions facially discriminatory because, under

Bostock, “discrimination on the basis of transgender status is

discrimination on the basis of sex and is a violation of Title VII.” Doc.

205, at 25.

     The district court rejected defendants’ arguments to the contrary.

Doc. 205, at 24-28. With respect to defendants’ contention that its plan

discriminates based on procedure (gender-transition surgery) rather

than transgender status, the court held that the argument simply

confirms that “[t]ransgender employees cannot get medically necessary


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treatment” they need “because they are transgender.” Doc. 205, at 24.

The court also found unpersuasive defendants’ argument that a plan

only facially discriminates “if it completely excludes coverage for

transgender care,” holding that “Title VII does not exempt ‘partial’

violations.” Doc. 205, at 26, 28 (emphasis and citation omitted).

     A divided panel of this Court affirmed. The panel majority first

observed that “[w]here an employer’s policy or practice discriminates

against a protected characteristic, no further proof of disparate intent is

needed.” Opinion (Op.) 7. And it explained that in Bostock, the

Supreme Court held that “‘discrimination based on . . . transgender

status necessarily entails discrimination based on sex’ as prohibited

under Title VII.” Op. 8 (alteration in original) (quoting Bostock, 590

U.S. at 669).

     Turning to Lange’s claim, the panel majority explained that the

County’s health insurance plan imposes “a blanket denial of coverage

for gender-affirming surgery,” a procedure that “only” transgender

participants “would seek” or “qualify for.” Op. 9. Thus, applying

Bostock, the panel majority held that the plan violates Title VII because

it facially discriminates “based on transgender status.” Op. 9, 11.


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     Judge Brasher filed a dissenting opinion (Dissent). He asserted

that the plan “doesn’t treat anyone differently based on sex, gender

nonconformity, or transgender status,” but rather, distinguishes based

on the nature of the procedure provided. Dissent 4-6.

     This Court granted rehearing en banc (Order 2 (Aug. 15, 2024))

and requested supplemental briefing on the following question:

“Whether the employer-provided health insurance policy at issue, which

covers medically necessary treatments for certain diagnoses but bars

coverage for Lange’s ‘sex change’ surgery, facially violates Title VII of

the Civil Rights Act of 1964” (En Banc Briefing Notice 1 (Aug. 29,

2024)).

                     SUMMARY OF ARGUMENT

     The Supreme Court has squarely held that Title VII’s prohibition

against sex discrimination encompasses discrimination on the basis of

transgender status, see Bostock v. Clayton Cnty., 590 U.S. 644, 660-661

(2020), and also that Title VII protects employees from discrimination

in employer-sponsored health benefits, see Newport News Shipbuilding

& Dry Dock Co. v. EEOC, 462 U.S. 669, 682 (1983).




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     Consistent with these precedents, this Court should hold that an

employer violates Title VII if it provides a health insurance plan that

denies transgender employees coverage for medically necessary gender-

affirming care, when the care (such as the medically necessary

vaginoplasty Lange sought here) would be covered if provided for some

other medically necessary reason. Such an exclusion facially

discriminates based on sex because it denies medical care only when the

care is provided for gender transition purposes. Indeed, defendants do

not dispute that the County’s plan would cover the vaginoplasty Lange

seeks if it were provided for some reason other than to treat gender

dysphoria. There is thus “no way” to determine coverage under the

County’s health insurance plan, in light of the challenged exceptions,

“without considering [an employee’s] sex” assigned at birth. Bostock,

590 U.S. at 668.

     Defendants’ arguments to the contrary misunderstand the

required analysis under Title VII and should be rejected. Defendants

try to reframe the exclusions as merely distinguishing between different

types of medical procedures, but they cannot avoid the fact that when

the exclusions operate to deny coverage for a transgender employee’s


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medically necessary gender-affirming care, that employee’s sex is a but-

for cause of the denial. Defendants also argue that the county’s plan is

not facially discriminatory because it provided Lange the same coverage

afforded to other employees, which included coverage of some of her

gender-affirming care. But neither uniform application of

discriminatory exclusions, nor nondiscriminatory coverage of other

medical care, forecloses a finding that a plan facially violates Title VII.

     Defendants’ remaining arguments are similarly meritless. The

district court’s ruling does not afford Lange “more favorabl[e]”

treatment under the County’s plan (Br. 45); rather, it holds, consistent

with Title VII, that an employer may not use sex as a basis to deny

coverage for medically necessary care—like the vaginoplasty Lange

seeks here—that would otherwise qualify for coverage under the

employer’s health insurance plan if it were sought for another medically

necessary purpose. This conclusion does not change simply because not

all transgender employees will choose to undergo gender-affirming

surgery—Congress rejected such logic decades ago when it amended

Title VII. Finally, nothing in this analysis conflates disparate

treatment with mere disparate impact.


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     This Court should affirm.

                              ARGUMENT

 The County’s health plan violates Title VII because it excludes
  coverage for medically necessary treatments only when they
  are provided as part of an employee’s gender-affirming care.

     A.    The health plan’s exclusions facially discriminate
           based on sex by denying coverage only if the medical
           care sought by the employee seeks to align their sex
           characteristics with their gender identity.

     The district court correctly held that by denying coverage for

medically necessary treatment for gender dysphoria that aligns an

employee’s sex characteristics with their gender identity—even though

the procedure would be covered if provided for a different medically

necessary purpose—the County’s health plan facially discriminates on

the basis of sex and transgender status in violation of Title VII.

     1. Title VII bars an employer from “discriminat[ing] against any

individual with respect to his compensation, terms, conditions, or

privileges of employment, because of such individual’s . . . sex.” 42

U.S.C. 2000e-2(a)(1). The term “discriminate” refers to a “difference in

treatment or favor” for an employee. Bostock v. Clayton Cnty., 590 U.S.

644, 657 (2020) (citation omitted). And this prohibition on

discrimination extends to employer-sponsored health insurance plans.

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See Newport News Shipbuilding & Dry Dock Co. v. EEOC, 462 U.S. 669,

682 (1983) (“Health insurance and other fringe benefits are

‘compensation, terms, conditions, or privileges of employment’” under

Title VII.).

      In Bostock, the Supreme Court squarely held that Title VII’s

prohibition against sex discrimination encompasses discrimination

based on transgender status. As the Court explained, the statute’s bar

on discrimination “because of” sex, see 42 U.S.C. 2000e-2(a)(1),

“incorporates the ‘simple’ and ‘traditional’ standard of but-for

causation,” Bostock, 590 U.S. at 656 (citation omitted). The Court

further explained that “sex is necessarily a but-for cause” of

discrimination on the basis of transgender status because such conduct

“penalizes a person identified as [one sex] at birth for traits or actions

that [the employer] tolerates in an employee identified as [a different

sex] at birth.” Id. at 660-661 (emphasis omitted). In that way, “the

individual employee’s sex plays an unmistakable and impermissible

role” when an employer discriminates based on transgender status.

Ibid.; see also ibid. (explaining that “it is impossible to discriminate

against a person for being . . . transgender without discriminating


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against that individual based on sex”). This is true even if one assumes

that the term “sex” in Title VII “refer[s] only to biological distinctions

between male and female.” Id. at 655.

     2. Applying these principles here, because the challenged

exclusions in the County’s health plan bar coverage for certain

medically necessary procedures only when they are provided for the

purpose of aligning a person’s sex characteristics with their gender

identity, the plan facially discriminates based on sex and violates Title

VII. By barring coverage for “[s]ervices and supplies for a sex change”

(Doc. 155-1, at 71), the plan denies benefits when a procedure or drug is

provided to alter an individual’s sex characteristics to match their

gender identity and not their sex assigned at birth. In doing so, the

plan “unavoidably discriminates against persons with one sex identified

at birth and another today.” Bostock, 590 U.S. at 669. And by barring

coverage for services and supplies for the “reversal of a sex change”

(Doc. 155-1, at 71), the plan similarly denies benefits when a procedure

or drug seeks to bring an individual’s sex characteristics into alignment

with their gender identity and sex assigned at birth, and such

alignment does not already exist. Both situations entail facial sex


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discrimination because “[t]here is no way” to determine whether

coverage will be provided “without considering [an employee’s] sex”

assigned at birth. Bostock, 590 U.S. at 668.

     The en banc Fourth Circuit recently explained why the denial of

health insurance coverage for medically necessary gender-affirming

care that would otherwise qualify for coverage—like the vaginoplasty

Lange seeks here—represents “textbook sex discrimination.” Kadel v.

Folwell, 100 F.4th 122, 153 (4th Cir. 2024) (en banc), petitions for cert.

pending, Nos. 24-90 (filed July 25, 2024), 24-99 (filed July 26, 2024).

Kadel considered challenges to state health insurance plans that denied

coverage for gender-affirming surgery. Id. at 133-134. As described by

the Fourth Circuit, when the purpose of “surgery [was] to align a

patient’s gender presentation with their sex assigned at birth, the

surgery [was] covered” under the States’ plans, but “[w]hen the purpose

[was] to align a patient’s gender presentation with a gender identity

that d[id] not match their sex assigned at birth, the surgery [was] not

covered.” Id. at 153. This meant that individuals assigned female at

birth could obtain coverage for a vaginoplasty provided “for gender-




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affirming purposes”—for example, to treat the “congenital absence of a

vagina”—“but those assigned male at birth [could not].” Ibid.

     As the Fourth Circuit cogently explained, such an exclusion of

coverage facially discriminates based on sex because the provision of

benefits turns on “whether the patient was assigned male at birth.”

Kadel, 100 F.4th at 154. If an employee sought coverage for a medically

necessary vaginoplasty under the States’ plans, one could not know if

the procedure would be covered “without knowing whether the

vaginoplasty is to treat gender dysphoria—in other words, whether the

patient was assigned male at birth.” Id. at 154; see also id. at 147

(explaining that the exclusion makes determining coverage “impossible

. . . without inquiring into a patient’s sex assigned at birth and

comparing it to their gender identity”). The States’ health insurance

plans thus “facially discriminate[d] on the basis of sex” because “some

patients will be eliminated from candidacy for” vaginoplasties and other

gender-affirming surgeries “solely from knowing their sex assigned at

birth.” Id. at 134, 153; see also Fletcher v. Alaska, 443 F. Supp. 3d 1024,

1030 (D. Alaska 2020) (reaching this conclusion under Title VII);

Boyden v. Conlin, 341 F. Supp. 3d 979, 995-997 (W.D. Wis. 2018)


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(same); Lawrence v. OPM, No. 0120162065, 2024 WL 3040129 (EEOC

May 30, 2024) (same under Title VII’s federal-sector provision). 2 This

logic applies with equal force to the County’s plan because, given the

challenged exclusions, there is no way to determine coverage “without

referencing sex” assigned at birth. Kadel, 100 F.4th at 153.3




     2  Other district courts have reached similar conclusions under
Section 1557 of the ACA, which bars sex discrimination in health
programs and activities receiving federal financial assistance. 42
U.S.C. 18116(a); see Hammons v. University of Md. Med. Sys. Corp., 649
F. Supp. 3d 104, 117 (D. Md. 2023), appeal pending, No. 23-1452 (4th
Cir. docketed Apr. 26, 2023); C.P. v. Blue Cross Blue Shield of Ill., No.
3:20-cv-6145, 2022 WL 17788148, at *6 (W.D. Wash. Dec. 19, 2022);
Flack v. Wisconsin Dep’t of Health Servs., 328 F. Supp. 3d 931, 951
(W.D. Wis. 2018).
     3  Exclusions from health insurance coverage for medically
necessary gender-affirming care can also discriminate based on sex
under a sex-stereotyping theory of liability. As Kadel explains, a plan
that “conditions access to gender-affirming surgery on whether the
surgery will better align the patient’s gender presentation with their
sex assigned at birth is a policy based on gender stereotypes”—for
example, “the assumption that people who have been assigned female at
birth are supposed to have breasts, and that people assigned male at
birth are not.” 100 F.4th at 154. Coverage exclusions “based on [such]
gender stereotypes impermissibly discriminate on the basis of sex.”
Ibid.

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     B.    None of defendants’ arguments undermines the
           district court’s well-reasoned analysis.

     Defendants propose a number of grounds on which to reverse the

district court’s finding that the County’s plan facially discriminates

based on sex, but none withstands scrutiny.

     1. First, defendants attempt to depict the challenged exclusions

as simply drawing distinctions in coverage based on particular types of

surgical procedures. The County’s plan, they say, “draws [a] line

between those who want the treatment of transition surgery . . . and

those who do not.” Br. 56 (emphasis omitted). But reframing the

County’s plan as denying healthcare benefits for certain medical

treatments ignores the sex-based rules inherent in the exclusions’ terms

and operation. The exclusions define the excluded care based on an

employee’s sex—specifically, whether the procedure will “change” the

employee’s physical attributes to or from those associated with the

person’s “sex” assigned at birth. Doc. 155-1, at 71. And in practice,

they exclude coverage for otherwise eligible, medically necessary care

only when the procedure is provided because a person’s gender identity

is inconsistent with their sex assigned at birth, or in the case of sex-

change “reversal[s]” (Doc. 155-1, at 71), because a person’s gender

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identity had been inconsistent with their sex assigned at birth. See Br.

20 (acknowledging that the exclusions “den[y] coverage for procedures

and treatments that would otherwise be covered if provided in

connection with a different diagnosis” (citation omitted)). Thus,

“[b]ecause the [person’s] sex at birth determines whether or not the

[person] can receive” coverage for the procedure, the plan necessarily

“discriminates on the basis of sex.” Brandt v. Rutledge, 47 F.4th 661,

669 (8th Cir. 2022).

     2. Relatedly, defendants describe medically necessary gender-

affirming surgery as not involving “the same” procedure as that which

would be performed on a cisgender person. Br. 58. For example, they

reference different “steps” for performing a vaginoplasty on a

transgender woman, as compared to those taken when performing a

vaginoplasty on a cisgender woman. Br. 58. But health insurance

providers generally do not distinguish between procedures “performed

on a transgender patient or a non-transgender patient” when processing

claims involving the same care—rather, “[t]he same” billing code is used

for a vaginoplasty “performed for a non-transgender woman as

treatment for congenital absence of the vagina [and] for a transgender


                                  - 18 -
woman with gender dysphoria.” Doc. 148-1, at 13-14. More

importantly, the insurance exclusions rely on sex-based lines to deny

health insurance benefits when medical treatments like vaginoplasties

are provided to “change” an individual’s sex characteristics to those that

differ from their sex assigned at birth—or, in the case of a “reversal of a

sex change,” those that align with their sex assigned at birth where

such alignment does not already exist (Doc. 155-1, at 71)—even though

the same treatments are covered when provided for other medically

necessary reasons (Doc. 155-1, at 71).4

     The record below bears out this straightforward conclusion. The

County admitted that, under the challenged exclusions, the denial of

coverage for such surgical procedures turns not on any differences

between the procedures when performed on transgender individuals as

compared to cisgender individuals, but rather, based on whether the



     4  The plan’s exclusion of coverage for “[d]rugs for sex change
surgery” (Doc. 155-1, at 71, 73) makes this point abundantly clear.
Under this exclusion, if Lange were to undergo a vaginoplasty, the plan
would cover neither any anesthesia drugs used prior to the procedure,
nor any antibiotics or painkillers used after the procedure—even though
the same drugs would be covered for a vaginoplasty provided to treat a
different diagnosis—all because the procedure itself seeks to alter
Lange’s sex characteristics to match her gender identity.

                                   - 19 -
diagnosis is gender dysphoria or something else. Specifically, the

County did not dispute the fact that “[t]he [e]xclusion denies coverage

for procedures and treatments,” such as vaginoplasties, “that would

otherwise be covered if provided in connection with a different

diagnosis.” Doc. 179-3, at 30-31 (emphasis added).5

      For these and other reasons, defendants’ amici err in suggesting

that Lange’s claim fails for lack of a “similarly situated” comparator

because the type of vaginoplasties that cisgender women receive are not

identical to those that transgender women receive. Ala., Fla., & Ga. En

Banc Amicus Br. 7-12 (citation omitted); see also Br. 59. This Court has

specifically advised that, under Title VII, “[a] plaintiff’s failure to

produce a comparator does not necessarily doom” a claim of sex



      5  The County suggests that its plan excludes coverage for gender-
affirming surgery based on the “[e]xpense” of the procedure. Br. 49; see
also id. at 2-3, 25, 35. But as the district court explained below, it is
“undisputed that cost was not a factor in the County’s decision” to
retain the exclusions. Doc. 205, at 6. In any case, the County’s motive
for adopting the exclusions is irrelevant to the question of whether they
facially discriminate. When an “employment practice involves
disparate treatment through explicit facial discrimination,” the
unlawfulness of that discrimination “does not depend on why the
employer discriminates but rather on the explicit terms of the facial
discrimination.” United Auto. Workers v. Johnson Controls, Inc., 499
U.S. 187, 199 (1991) (emphasis added); see also pp. 32-33, infra.

                                    - 20 -
discrimination. Lewis v. City of Union City, 934 F.3d 1169, 1185 (11th

Cir. 2019) (citation omitted). This makes perfect sense: a comparator

simply provides one way of showing that, but for the employee’s sex or

some other protected attribute, the employer’s discriminatory action

would not have occurred. But it is not the only way to prove causation.

See ibid. (discussing other ways to establish discrimination). Here, but-

for causation already is evident from the face of the challenged

exclusions and the County’s admission that Lange’s vaginoplasty would

have been covered if provided for some medically necessary reason other

than aligning her genitalia with her gender identity. See pp. 19-20,

supra. 6




      6 The Court may also affirm the district court’s finding of facial
sex discrimination on the basis that the County’s plan “bar[s]
treatments on the basis of transgender identity by proxy.” Kadel, 100
F.4th at 149. “[D]efendants admit[ted] ‘that the only [h]ealth [p]lan
participants impacted by the [e]xclusion are transgender people seeking
a ‘sex change.’” Doc. 205, at 19 (citation omitted). This was the case in
Kadel. See 100 F.4th at 148 (explaining that “the gender-affirming
surgeries that are not covered for anyone are surgeries that only
transgender people would get”). Such exclusions “use gender dysphoria
as a proxy for transgender identity.” Id. at 150. And as Bostock
emphasized, “discrimination based on . . . transgender status
necessarily entails discrimination based on sex.” 590 U.S. at 669.

                                  - 21 -
     3. Next, defendants argue that the County’s plan does not facially

discriminate based on sex because it provides Lange “the same

coverage, at the same cost, with the same exclusions” as it does to “all

other plan participants.” Br. 36. “Th[is] argument is . . . tautological,

akin to saying that the law ‘applies equally to all to whom it applies.’”

Kadel, 100 F.4th at 147 (citation omitted). It is also meritless.

     The Supreme Court has flatly rejected the argument that laws

that differentiate based on a protected characteristic like race or sex are

not discriminatory simply because they apply to members of all races or

sexes. “It is axiomatic,” for example, “that racial classifications do not

become legitimate on the assumption that all persons suffer them in

equal degree.” Powers v. Ohio, 499 U.S. 400, 410 (1991); cf. Flowers v.

Mississippi, 588 U.S. 284, 299 (2019) (explaining in the context of jury

selection that “[d]iscrimination against one defendant or juror on

account of race is not remedied or cured by discrimination against other

defendants or jurors on account of race”).

     Thus, a policy that uniformly forbids the wearing of yarmulkes

would not be purged of its discriminatory character simply because it

applies to Jews and non-Jews alike. See Bray v. Alexandria Women’s


                                   - 22 -
Health Clinic, 506 U.S. 263, 270 (1993) (“A tax on wearing yarmulkes is

a tax on Jews.”). State bans on same-sex marriage also discriminate

against gays, lesbians, and bisexual individuals, even though they

equally “apply to straight” persons. Kadel, 100 F.4th at 148 (emphasis

omitted); see also Obergefell v. Hodges, 576 U.S. 644, 672-675 (2015). So

too here. Even if the challenged exclusions of coverage for gender-

affirming care technically “apply to everyone,” they are, in practice,

“only relevant to transgender individuals.” Kadel, 100 F.4th at 146

(emphasis omitted). Indeed, defendants concede as much. See Br. 22

(admitting that the exclusions “logically impact[] only transgender

participants who might seek a sex change”).

     Defendants and their amici also find no purchase in citing

Bostock’s statement that but-for causation is analyzed by “chang[ing]

one thing at a time and see[ing] if the outcome changes.” 590 U.S. at

656. They argue that but-for causation is lacking here because the

plan’s denial of coverage for gender-affirming care applies to both male

and female “employee[s] seeking sex-change surgery.” Ala., Fla., & Ga.

En Banc Amicus Br. 5-6; see also Br. 57. They are wrong. For

transgender individuals assigned male at birth and those assigned


                                  - 23 -
female at birth, sex operates as a but-for cause under the challenged

exclusions because coverage would be provided if their sex assigned at

birth were different. For example, the exclusions would not bar Lange

from obtaining a medically necessary vaginoplasty if she were a

cisgender female, because the sex-change exclusion would not apply.

See pp. 19-20, supra. Thus, just as an employer that “is equally happy

to fire male and female [transgender] employees” violates Title VII

because “the employer must, along the way, intentionally treat [the]

employee[s] worse based in part on . . . sex,” Bostock, 590 U.S. at 662, so

too do the challenged exclusions facially discriminate based on sex by

denying coverage for men and women alike.

     4. Defendants additionally contend that the County’s plan does

not facially discriminate based on sex because it “covered most non-

surgical care for [Lange’s] transition, even if it indisputably did not

cover sex change surgery.” Br. 27 (emphasis omitted); see also id. at 49.

But the mere fact that some benefits may have been provided in a

nondiscriminatory manner neither changes the facially discriminatory

nature of the challenged exclusions, nor demonstrates that




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discrimination with regard to other “compensation, terms, conditions, or

privileges of employment” has not occurred. 42 U.S.C. 2000e-2(a)(1).

     Defendants similarly suggest that Bostock would only “dictate the

outcome of” Lange’s Title VII claim if the County had “den[ied] Lange

the right to participate in the [p]lan due to her transgender status.” Br.

35 (emphasis added). But Title VII’s prohibition against

“discriminat[ion],” 42 U.S.C. 2000e-2(a)(1), is not limited to wholesale

denials of an employee’s ability to enroll in a health insurance plan.

Rather, Bostock’s analysis logically applies to any “difference[s] in

treatment or favor” based on membership in a protected class that is

not otherwise exempted by statute. 590 U.S. at 657 (citation omitted).

     Put differently (and correctly) by the district court, “Title VII does

not exempt ‘partial’ violations.” Doc. 205, at 28 (citation omitted).

Instead, the statute “makes each instance of discriminating against an

individual employee because of that individual’s sex an independent

violation of Title VII.” Bostock, 590 U.S. at 662 (emphasis added).

Unsurprisingly, then, many courts have found coverage exclusions for

medically necessary gender-affirming surgery to be facially

discriminatory even where the health insurance plans at issue covered


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some non-surgical treatments of gender dysphoria. See Kadel, 100

F.4th at 133, 153; Fletcher, 443 F. Supp. 3d at 1027, 1030; Boyden, 341

F. Supp. 3d at 988, 997.

     5. Defendants similarly err in suggesting that the district court’s

ruling affords transgender employees “more favorabl[e]” treatment

under the County’s plan because some medically necessary gender-

affirming surgery would be covered, while coverage for treatments of

things like “[s]exual [d]ysfunction” and “[i]nfertility” would remain

excluded under other provisions of the plan. Br. 39, 45-46 (last

alteration in original; citations omitted).

     As an initial matter, unrelated and unchallenged exclusions of

coverage do not bear on the question of whether sex is a but-for cause of

the denial of coverage under the challenged exclusions. But even if the

exclusions for the treatment of “sexual dysfunction” and infertility were

relevant, they do not discriminate based on sex: in contrast to the

challenged exclusions, they apply evenhandedly to all people, regardless

of sex assigned at birth or transgender status. See Doc. 155-1, at 69

(denying coverage for “[t]esting or treatment related to infertility except

for diagnostic services and procedures to correct an underlying medical


                                   - 26 -
condition”), 71 (same for “[s]ervices or supplies for male or female

sexual problems”). In short, these exclusions do not withdraw coverage

for medically necessary treatment (like the vaginoplasty Lange seeks

here) that would otherwise be eligible under the County’s plan if

provided for a purpose other than conforming her physical sex

characteristics to align with her gender identity.

     Moreover, holding that the challenged exclusions facially

discriminate based on sex, as the district court did, does not treat

transgender employees more favorably than cisgender employees. The

upshot of the district court’s ruling is not that Title VII mandates

employer coverage of all care for gender dysphoria. Instead, it simply

reflects the fact that when medically necessary care is otherwise

covered, Title VII bars an employer from withdrawing that coverage

only when the care is provided to modify an employee’s physical sex

characteristics in accordance with their gender identity. Cf. Bostock,

590 U.S. at 669 (explaining that Title VII prohibits “discriminat[ion]

against persons with one sex identified at birth and another today”).

     Nor do defendants (Br. 44-45) derive any support for their position

from Young v. United Parcel Service, Inc., 575 U.S. 206 (2015). Young


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interpreted the Pregnancy Discrimination Act and rejected what the

Court characterized as a “most favored nation” reading of the statute,

under which an employer who provides any “worker[] with an

accommodation . . . must provide similar accommodations to all

pregnant workers” who have “comparable physical limitations.” Id. at

221 (emphasis omitted). The district court did not adopt such a reading

of Title VII. Rather, it simply concluded that, under Title VII, if an

employer chooses to provide health insurance coverage for a medically

necessary procedure, it may not exclude coverage for that procedure

only when it is provided to “change” an employee’s physical attributes to

or from those associated with the person’s “sex” assigned at birth. Doc.

155-1, at 71; see also Hishon v. King & Spalding, 467 U.S. 69, 75 (1984)

(“A benefit that is part and parcel of the employment relationship may

not be doled out in a discriminatory fashion, even if the employer would

be free . . . simply not to provide the benefit at all.”). In short, the

ruling below ensured that Lange would receive nondiscriminatory

treatment under the plan, not “more favorabl[e]” treatment. Br. 45.

      6. Defendants additionally fault the district court’s finding of

facial sex discrimination because not all transgender individuals choose


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to undergo gender-affirming surgery. Br. 45, 56-57. This argument

echoes logic that Congress specifically rejected when amending Title

VII. In General Electric Co. v. Gilbert, 429 U.S. 125 (1976), superseded

by statute as stated in Shaw v. Delta Air Lines, Inc., 463 U.S. 85 (1983),

the Court considered a Title VII challenge to an employer compensation

plan that provided disability benefits to employees who could not work

due to nonoccupational sickness or an accident, but denied such benefits

for an employee’s inability to work due to pregnancy. Id. at 127-129.

The Court held that the exclusion did not constitute sex discrimination

under Title VII because while “pregnant women” are “exclusively

female,” “nonpregnant persons . . . include[] members of both sexes.” Id.

at 135-136 (citation omitted).

     Two years later, Congress amended the definition of “because of

sex” in Title VII to include pregnancy and related medical conditions.

See 42 U.S.C. 2000e(k). As the Court later explained, this amendment

“not only overturned the specific holding in [Gilbert], but also rejected

the test of discrimination employed by the Court in that case.” Newport

News, 462 U.S. at 676 (emphasis added); see also id. at 678 (recounting

how Congress “unambiguously expressed its disapproval of both the


                                   - 29 -
holding and the reasoning of the Court in the Gilbert decision”).

Specifically, Congress “unequivocally rejected [Gilbert’s] reasoning” that

a health insurance plan “that single[s] out pregnancy-related benefits

for exclusion [is] nondiscriminatory on its face” even though “only

women can become pregnant.” Id. at 684. Accordingly, when presented

in Newport News with a health insurance plan that “mirror[ed] . . . the

plan at issue in Gilbert,” the Court held that the plan facially

discriminated based on sex. Id. at 685; see also ibid. (explaining that

“Congress’ rejection of the premises of [Gilbert] forecloses any claim”

that the plan is nondiscriminatory).

     Newport News thus forecloses defendants’ argument that facial

discrimination cannot be found here because there may be some

transgender individuals “who do not” want gender-affirming surgery.

Br. 45. Under a straightforward application of the opinion’s rationale,

denying health insurance coverage to transgender employees for

gender-affirming surgery constitutes sex discrimination under Title VII,

even though not all transgender individuals will seek out such

treatment. See also Kadel, 100 F.4th at 145 n.19 (explaining that “a




                                   - 30 -
law need not affect every transgender person to discriminate against

transgender people as a class”).

     Moreover, contrary to the assertions of defendants’ amicus

(Christian Emps. Amicus Br. 8-10), Newport News is not limited to

pregnancy discrimination. Rather, the Court described its analysis as

having applied “the proper test” for evaluating discrimination under

Title VII. Newport News, 462 U.S. at 676. But regardless, even if the

amicus were correct, defendants’ argument still fails for two additional

reasons. First, in relying on the fact that some transgender individuals

may not pursue gender-affirming surgery, defendants mistake a

potential lack of injury to some members of the protected class for a lack

of facial discrimination under the plan. And second, the argument

ignores the fact that where a transgender employee does want to

undergo such treatment to treat gender dysphoria, the plan

impermissibly denies coverage based on the purpose of the procedure

and the employee’s sex assigned at birth. See pp. 13-16, supra.7


     7  Defendants’ amicus also suggests that “Congress amended Title
VII to prescribe a different result only for discrimination ‘on the basis of
pregnancy,’” and “left the default rule of . . . Gilbert in place as to all
other medical conditions.” Christian Emps. Amicus Br. 6-7 (emphasis

                                   - 31 -
     7. Finally, the foregoing analysis does not “effectively eliminate[]

‘disparate impact’ as a separate theory of liability.” Lange v. Houston

Cnty., 101 F.4th 793, 805 (11th Cir.) (Brasher, J., dissenting), reh’g en

banc granted, opinion vacated, 110 F.4th 1254 (11th Cir. 2024).

Disparate impact liability may apply where a defendant maintains a

facially neutral employment practice that has a disparate impact on a

protected group. See EEOC v. Joe’s Stone Crab, 220 F.3d 1263, 1274

(11th Cir. 2000). But as set forth supra, the County’s health plan is not

neutral on its face—rather, the exclusions facially discriminate based

on sex by prohibiting medically necessary treatments only when they

are provided to change a person’s sexual characteristics to match their

gender identity.

     Having demonstrated that the law discriminates on its face,

Lange was not required to provide further evidence of discriminatory

intent. See Doc. 205, at 22, 28; see also United Auto. Workers v.



and citation omitted). But the Supreme Court already has rejected the
proposition that Title VII incorporates different causation standards for
different types of sex discrimination. See Bostock, 590 U.S. at 673
(finding no basis in “Title VII’s text” for applying different standards to
discrimination based on transgender status and discrimination based
on “sex” or “sex[] stereotypes”).

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Johnson Controls, Inc., 499 U.S. 187, 199 (1991) (“Whether an

employment practice involves disparate treatment through explicit

facial discrimination does not depend on why the employer

discriminates but rather on the explicit terms of the discrimination.”);

Armstrong v. Flowers Hosp., Inc., 33 F.3d 1308, 1313 (11th Cir. 1994)

(explaining that a plaintiff establishes “disparate treatment” by

showing that a policy “explicitly treats some employees differently from

others on the basis of” a protected characteristic). Nothing in this

analysis conflates disparate treatment with disparate impact or rests on

a mere finding that the challenged exclusions “uniquely affect[]

members of a protected class.” Lange, 101 F.4th at 805 (Brasher, J.,

dissenting).




                                  - 33 -
                              CONCLUSION

     For the foregoing reasons, this Court should affirm the district

court’s ruling and hold that the County’s health insurance plan facially

discriminates based on sex.

                                           Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

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